                                                                  Case 8:12-bk-12339-MW       Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49        Desc
                                                                                               Main Document    Page 1 of 29


                                                                   1   Samuel R. Maizel (CA Bar No. 189301)
                                                                       Malhar S. Pagay (CA Bar No. 189289)
                                                                   2   Jeffrey L. Kandel (CA Bar No. 115832)
                                                                       PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, California 90067
                                                                   4   Telephone: 310/277-6910
                                                                       Facsimile: 310/201-0760
                                                                   5   Email: smaizel@pszjlaw.com
                                                                               mpagay@pszjlaw.com
                                                                   6           jkandel@pszjlaw.com

                                                                   7   Attorneys for Gordian Medical, Inc., d/b/a American
                                                                       Medical Technologies, Debtor and Debtor in Possession
                                                                   8
                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                   9                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                                       SANTA ANA DIVISION
                                                                  10
                                                                       In re:                                           Case No.: 8:12-bk-12339 MW
                                                                  11                                                    Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       GORDIAN MEDICAL, INC., dba American
                                                                  12   Medical Technologies,                            NOTICE OF MOTION AND MOTION OF
                                                                                                                        DEBTOR FOR ORDER APPROVING
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                    SETTLEMENT BETWEEN THE DEBTOR
                                           ATTORNEYS AT LAW




                                                                                                      Debtor.           AND THE UNITED STATES OF AMERICA,
                                                                  14                                                    ACTING THROUGH THE UNITED
                                                                                                                        STATES DEPARTMENT OF HEALTH AND
                                                                  15                                                    HUMAN SERVICES AND THE CENTERS
                                                                                                                        FOR MEDICARE AND MEDICAID
                                                                  16                                                    SERVICES; MEMORANDUM OF POINTS
                                                                                                                        AND AUTHORITIES; DECLARATION OF
                                                                  17                                                    GERALD DEL SIGNORE IN SUPPORT
                                                                                                                        THEREOF
                                                                  18
                                                                                                                        Hearing:
                                                                  19                                                    Date:      March 4, 2015
                                                                                                                        Time:      2:00 p.m.
                                                                  20                                                    Place:     U.S. Bankruptcy Court
                                                                                                                                   411 Fourth Street
                                                                  21                                                               Courtroom 6C
                                                                                                                                   Santa, Ana, CA 92701-4593
                                                                  22
                                                                                                                        Judge:     Hon. Mark Wallace
                                                                  23

                                                                  24            TO THE HONORABLE MARK WALLACE, UNITED STATES BANKRUPTCY

                                                                  25   JUDGE; COUNSEL FOR THE CENTERS FOR UNITED STATES MEDICARE AND

                                                                  26   MEDICAID SERVICES; COUNSEL FOR THE UNITED STATES INTERNAL REVENUE

                                                                  27   SERVICE; COUNSEL FOR THE CALIFORNIA FRANCHISE TAX BOARD; THE OFFICE

                                                                  28   OF THE UNITED STATES TRUSTEE; AND PARTIES REQUESTING SPECIAL NOTICE:
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                        Desc
                                                                                                     Main Document    Page 2 of 29


                                                                   1           PLEASE TAKE NOTICE that Gordian Medical, Inc., dba American Medical

                                                                   2   Technologies, the debtor and debtor in possession (the “Debtor”) in the above captioned chapter 11

                                                                   3   case (the “Case”) hereby moves (the “Motion”) the Court for entry of an order pursuant to Federal

                                                                   4   Rule of Bankruptcy Procedure 9019(a) (“Rule 9019(a)”) approving the settlement between the

                                                                   5   Debtor and the United States of America, acting through the United States Department of Justice

                                                                   6   (“DOJ”) and on behalf of the Centers for Medicare and Medicaid Services of the Department of

                                                                   7   Health and Human Services (“CMS”), of claim nos. 51 and 52 (the “CMS Claims”). The terms of

                                                                   8   the settlement (“Settlement”) will be specifically set forth in the settlement agreement (the

                                                                   9   “Settlement Agreement”) between the Debtor and CMS, the final terms of which are still being

                                                                  10   resolved between the Debtor, DOJ and CMS, and a copy of which will be filed with the Court and

                                                                  11   served on interested parties no later than two days prior to the hearing on this Motion. However, the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   final Settlement Agreement is expected by the Debtor to be consistent with the terms in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   document attached hereto as Exhibit 1. The salient terms of the Settlement provide for an allowed
                                           ATTORNEYS AT LAW




                                                                  14   CMS claim of $35 million (the “Settlement Amount”) with the following provisions: (a) the Debtor

                                                                  15   shall pay $5 million to CMS at confirmation, (b) CMS shall be allowed to recoup approximately

                                                                  16   $4.6 million it currently holds in Medicare Trust Fund accounts, and (c) the balance of the

                                                                  17   Settlement Amount in the amount of $25.4 million shall be paid by the Debtor in equal monthly

                                                                  18   installments by CMS recouping approximately $305,066 from monies otherwise owed to the Debtor

                                                                  19   over the eighty-four months,1 commencing with the first full month after the Effective Date of the

                                                                  20   Plan. This will fully resolve the CMS Claims, which allegedly total approximately $76 million.

                                                                  21           PLEASE TAKE FURTHER NOTICE that the Motion is based on this Notice of Motion

                                                                  22   and Motion, Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

                                                                  23   Local Bankruptcy Rule 9013-1, the Memorandum of Points and Authorities and Declaration of

                                                                  24   Gerald Del Signore in support of the Motion, and all pleadings, documents and records on file with

                                                                  25   this Court, as well as any other documentary evidence as may be presented to this Court.

                                                                  26

                                                                  27
                                                                       1
                                                                         There are provisions in the Settlement Agreement which provide for payments to CMS from ongoing appeals of
                                                                  28   previously denied claims submitted by the Debtor. Those payments will not reduce the monthly amount, but may reduce
                                                                       the number of monthly payments required under the Settlement Agreement.
                                                                                                                               2
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49             Desc
                                                                                                     Main Document    Page 3 of 29


                                                                   1            PLEASE TAKE FURTHER NOTICE that Local Bankruptcy Rule 9013-1(o) requires that

                                                                   2   any objection or response to the Motion be filed with the Bankruptcy Court and served upon

                                                                   3   undersigned counsel for the Debtor at least fourteen (14) days prior to the hearing date, provided,

                                                                   4   however, that counsel for CMS will be given until two days prior to the hearing on the Motion to file

                                                                   5   and serve any objection or response to the Motion. Pursuant to Local Bankruptcy Rule 9013-1(h),

                                                                   6   the failure to timely file and serve written opposition may be deemed by the Bankruptcy Court to be

                                                                   7   consent to the granting of the relief requested in the Motion and the relief sought in this Motion may

                                                                   8   be granted without further notice. Pursuant to agreement between counsel for CMS and counsel for

                                                                   9   the Debtor, the hearing on this Motion will be continued if (a) the Debtor, DOJ and CMS cannot

                                                                  10   agree on the final text of the Settlement Agreement by March 2, 2015, or (b) final approval of the

                                                                  11   Settlement Agreement, if any, by the necessary officials on behalf of DOJ and CMS is not obtained
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   by March 2, 2015.
                                        LOS ANGELES, CALIFORNIA




                                                                  13            WHEREFORE the Debtor respectfully requests that this Court enter an order (i) granting
                                           ATTORNEYS AT LAW




                                                                  14   the Motion, (ii) approving the Settlement with the CMS, (iii) authorizing the Debtor to enter into and

                                                                  15   take any and all actions reasonably necessary to effectuate the Settlement, (iv) providing that the

                                                                  16   CMS Claims shall be satisfied as set forth in the Settlement Agreement; and (vi) granting such other

                                                                  17   and further relief as the Bankruptcy Court deems just and proper.

                                                                  18
                                                                       Dated:     February 11, 2015                PACHULSKI STANG ZIEHL & JONES LLP
                                                                  19

                                                                  20                                               By         /s/ Samuel R. Maizel
                                                                                                                              Samuel R. Maizel
                                                                  21

                                                                  22                                                          Attorneys for Gordian Medical, Inc., dba
                                                                                                                              American Medical Technologies, Debtor and
                                                                  23                                                          Debtor in Possession

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                          3
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49             Desc
                                                                                                     Main Document    Page 4 of 29


                                                                   1                            MEMORANDUM OF POINTS AND AUTHORITIES

                                                                   2
                                                                                                                         I.
                                                                   3
                                                                                                                INTRODUCTION
                                                                   4
                                                                               By this Motion, the Debtor seeks approval of the Settlement that will reduce the CMS Claims
                                                                   5
                                                                       of approximately $76 million to $35 million. Through the Settlement, the Debtor avoids the risk,
                                                                   6
                                                                       expense and delay of further complicated litigation with CMS and will facilitate the final resolution
                                                                   7
                                                                       of this Case in an expeditious manner.
                                                                   8
                                                                                                                         II.
                                                                   9
                                                                                                          JURISDICTION AND VENUE
                                                                  10
                                                                               On February 24, 2012, the Debtor, filed a voluntary petition for bankruptcy relief under
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). The Court has jurisdiction
                                                                  12
                                                                       over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       U.S.C. § 157(b)(2). Venue of this matter is appropriate pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                                  14
                                                                                                                        III.
                                                                  15
                                                                                                            STATEMENT OF FACTS
                                                                  16
                                                                       A.      General Case Background
                                                                  17
                                                                               On February 24, 2012, the Debtor filed a voluntary petition for relief under chapter 11 of the
                                                                  18
                                                                       Bankruptcy Code with the United States Bankruptcy Court for the Central District of California,
                                                                  19
                                                                       Santa Ana Division.
                                                                  20
                                                                               The Court entered an order setting August 22, 2012 as the deadline by which all
                                                                  21
                                                                       governmental units must file prepetition claims against the Debtor. On December 6, 2012, the
                                                                  22
                                                                       United States Internal Revenue Service (the “IRS”) filed a claim in the amount of $17,786,989.40, of
                                                                  23
                                                                       which $14,817,212.90 was listed as priority and $2,969,776.50 as general unsecured (the “IRS
                                                                  24
                                                                       Claim”) for alleged unpaid federal corporate income taxes of American Medical Technologies, Inc.
                                                                  25
                                                                       (“AMT”), a non-debtor entity, based upon a theory of successor liability. The Debtor objected to the
                                                                  26
                                                                       IRS Claim as being late filed but the Court ultimately held that the IRS Claim could be late filed due
                                                                  27
                                                                       to excusable neglect. While the Court allowed the IRS Claim to be filed late, it did not rule on the
                                                                  28

                                                                                                                          4
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49             Desc
                                                                                                     Main Document    Page 5 of 29


                                                                   1   merits of the IRS Claim, and the Debtor has reserved all rights to object to the merits of the IRS

                                                                   2   Claim. The Debtor and the IRS have now agreed to the terms of a settlement, but final language of

                                                                   3   the settlement agreement is still being resolved.

                                                                   4           The Debtor filed its original Plan of Reorganization [Dated August 23, 2013] (the “Plan”)

                                                                   5   [Docket No. 685] on August 23, 2013. The hearing on confirmation of the Plan was continued

                                                                   6   numerous times in order to facilitate a resolution of the disputes between the Debtor and the various

                                                                   7   government entities, including the IRS, CMS and the California State Franchise Tax Board (“FTB”).

                                                                   8   The Court entered a Scheduling Order [Docket No. 893], vacating the plan confirmation hearing

                                                                   9   date, due to the uncertainties concerning the settlements between the Debtor and the IRS, CMS and

                                                                  10   the FTB. The Debtor has now filed its First Amended Plan of Reorganization [Dated January 13.

                                                                  11   2015] (the “Amended Plan”) [Docket No. 1395] which is set for a confirmation hearing on March 4,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   2015, provided that the Debtor can resolve the remaining issues with CMS and obtain final approval
                                        LOS ANGELES, CALIFORNIA




                                                                  13   of all three settlements.
                                           ATTORNEYS AT LAW




                                                                  14           The Debtor has negotiated, generally, a settlement with the FTB and IRS, but the Settlement

                                                                  15   remains subject to DOJ and CMS final approval. The delay in reaching a settlement of the IRS

                                                                  16   claim caused additional CMS-related issues to arise which needed to be resolved before the DOJ and

                                                                  17   CMS can further consider final approval of the Settlement. The Debtor believes all but one issue is

                                                                  18   resolved. The Debtor, DOJ and CMS continue to negotiate in good faith and hope to resolve the

                                                                  19   remaining issue soon so that the DOJ may finally approve the Settlement before the scheduled

                                                                  20   confirmation hearing.

                                                                  21           The FTB filed numerous claims against the Debtor which were either withdrawn or amended.

                                                                  22   The still-extant FTB amended claim was based, in large part, upon the Court’s ruling relating to late

                                                                  23   filed IRS claim. The Debtor has reached a settlement in principle with the FTB, but the FTB has

                                                                  24   made its settlement contingent upon final approval of the IRS settlement, which is contingent upon

                                                                  25   final approval of the Settlement. Thus, until the remaining issue is resolved with CMS, the FTB

                                                                  26   settlement cannot be approved by the appropriate state officials.

                                                                  27

                                                                  28

                                                                                                                           5
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW                   Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49            Desc
                                                                                                           Main Document    Page 6 of 29


                                                                   1   B.      The CMS Claims

                                                                   2           The CMS Claims are two identical claims asserting a prepetition right to payment of no less

                                                                   3   than $76 million, based upon alleged “Medicare Overpayments” for payments made to the Debtor

                                                                   4   for wound care products and overpayments as identified by the Program Safeguard Contractors and

                                                                   5   Zone Program Integrity Contractors (organizations to conduct program integrity functions for the

                                                                   6   Medicare program) in their reviews of the Debtor’s invoices. Additionally, CMS asserts an

                                                                   7   administrative claim for postpetition overpayments in an unliquidated amount. The Debtor objected

                                                                   8   to the CMS Claims (the “CMS Objection”) but the hearings on the CMS Objection have been

                                                                   9   continued numerous time while the parties negotiated.

                                                                  10                                                            IV.

                                                                  11                                               THE CMS SETTLEMENT
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           After almost two years of negotiations, the Debtor and CMS ultimately reached agreement on
                                        LOS ANGELES, CALIFORNIA




                                                                  13   most issues as reflected in Exhibit 1 attached hereto and summarized herein. The final terms of the
                                           ATTORNEYS AT LAW




                                                                  14   Settlement Agreement are still to be resolved and it will be filed with the Court no later than two

                                                                  15   days prior to the hearing on this Motion. The remaining issues are related to the treatment of

                                                                  16   postpetition CMS claims vis-à-vis the impact of confirmation and the discharge on those claims.

                                                                  17   The Debtor anticipates resolving those issues shortly with CMS and DOJ.

                                                                  18           The salient terms of the Settlement are as follows:

                                                                  19                                (a)      the CMS Claims shall be allowed in the amount of $35 million;

                                                                  20                                (b)      the Debtor pays $5 million at confirmation;

                                                                  21                         (c)    CMS shall be allowed to recoup approximately $4.6 million it currently
                                                                       holds in the Medicare Trust Fund;
                                                                  22
                                                                                              (d) the balance of the Settlement Amount in the amount of approximately
                                                                  23   $25.4 million shall be recouped by CMS in equal monthly offsets in the ordinary course of business
                                                                       of approximately $305,066 over the eighty-four months; and
                                                                  24
                                                                                              (e)   the Debtor has agreed to stop billing for certain products, and has
                                                                  25   agreed to resolve certain pending appeals within the Medicare appeals process.

                                                                  26

                                                                  27

                                                                  28

                                                                                                                                 6
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                 Desc
                                                                                                     Main Document    Page 7 of 29


                                                                   1                                                       V.

                                                                   2                            THE COURT SHOULD APPROVE THE PROPOSED

                                                                   3                                SETTLEMENT PURSUANT TO RULE 9019(a)

                                                                   4   A.      The Standard of Review
                                                                   5           “The law favors compromise and not litigation for its own sake. . . .” Martin v. Kane (In re A

                                                                   6   & C Properties), 784 F.2d 1377, 1381 (9th Cir. 1986); see also Marandas v. Bishop (In re Sassalos),

                                                                   7   160 B.R. 646, 653 (D. Or. 1993) (noting that compromises are favored in bankruptcy). Rule 9019(a)

                                                                   8   of the Bankruptcy Rules (“Rule 9019(a)”) provides in relevant part that “[o]n motion by the trustee

                                                                   9   and after notice and hearing, the court may approve a compromise or settlement.” Rule 9019(a)

                                                                  10   commits the approval or denial of a settlement to the sound discretion of the Court. See In re Stein,

                                                                  11   236 B.R. 34, 37 (D. Or. 1999). The Court, however, should not substitute its own judgment for the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   judgment of a debtor. See In re Carla Leather, Inc., 44 B.R. 457, 465 (Bankr. S.D.N.Y. 1984), aff’d,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   50 B.R. 764 (S.D.N.Y. 1985).
                                           ATTORNEYS AT LAW




                                                                  14           When deciding whether to approve a settlement, the Court must determine if the settlement is

                                                                  15   reasonable under the circumstances of the case, fair and equitable, and in the best interest of the

                                                                  16   estate. See A & C Props., 784 F.2d at 1381. The Court is neither required to conduct a mini-trial on

                                                                  17   the merits of the settlement, Port O’Call Invest. Co. v. Blair (In re Blair), 538 F.2d 849, 851 (9th

                                                                  18   Cir. 1976), nor determine that the settlement amount is the amount that would have been paid had

                                                                  19   the matter been tried. The Court need only “canvass the issues and see whether the settlement

                                                                  20   ‘fall[s] below the lowest point in the range of reasonableness.’” Cosoff v. Rodman (In re W.T. Grant

                                                                  21   Co.), 699 F.2d 599, 608 (2d Cir. 1983) (quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972));

                                                                  22   In re Pacific Gas and Elec. Co., 304 B.R. 395, 417 (Bankr. N. D. Cal. 2004); In re Planned

                                                                  23   Protective Servs., Inc., 130 B.R. 94, 99 n.7 (Bankr. C.D. Cal. 1991).

                                                                  24           The Supreme Court stated in Protective Committee v. Anderson, 390 U.S. 414, 424 (1968),

                                                                  25   that in order to approve a proposed settlement under the then-extant Bankruptcy Act, a court must

                                                                  26   have found that the settlement was “fair and equitable” based on an “educated estimate of the

                                                                  27   complexity, expense, and likely duration of . . . litigation, the possible difficulties of collecting on

                                                                  28   any judgment which might be obtained and all other factors relevant to a full and fair assessment of

                                                                                                                            7
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                Desc
                                                                                                     Main Document    Page 8 of 29


                                                                   1   the wisdom of the proposed compromise.” The Ninth Circuit Court of Appeals has reiterated that in

                                                                   2   determining the fairness, reasonableness, and adequacy of a proposed settlement agreement, a court

                                                                   3   should consider the following factors: (1) the probability of success in litigation; (2) the difficulties,

                                                                   4   if any, to be encountered in the matter of collection; (3) the complexity of the litigation involved and

                                                                   5   the expense, inconvenience and delay necessarily attending it; and (4) the paramount interest of the

                                                                   6   creditors and the proper deference to their reasonable views in the premises (collectively, the

                                                                   7   “Woodson Factors”). See Woodson v. Fireman’s Fund Ins. Co. (In re Woodson), 839 F. 2d 610, 620

                                                                   8   (9th Cir. 1988) (quoting A & C Props., 784 F.2d at 1380). It is not necessary that the conclusions

                                                                   9   reached in the consideration of each of the Woodson Factors support the settlement, but taken as a

                                                                  10   whole, those conclusions must favor the approval of the settlement. See Pacific Gas, 304 B.R. at

                                                                  11   417 (citing In re WCI Cable, Inc., 282 B.R. 457, 473-74 (Bankr. D. Or. 2002)).
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   A.      The Settlement Satisfies the Rule 9019 Standard
                                        LOS ANGELES, CALIFORNIA




                                                                  13           As discussed below, the conclusions that must be drawn from a reasoned consideration of the
                                           ATTORNEYS AT LAW




                                                                  14   Woodson Factors support Court approval of the CMS Settlement.

                                                                  15           1.       Probability of Success
                                                                  16           The Debtor has evaluated the probability of success, the merits of any litigation that might

                                                                  17   result if the disputes are not settled, and the risks and costs inherent with litigation. Success in any

                                                                  18   such litigation certainly is not assured and there is a substantial risk that CMS would be allowed

                                                                  19   substantial claims in the Case. CMS would be expected to raise issues such as whether the Debtor is

                                                                  20   required to exhaust Medicare’s administrative remedies (which will add years to the litigation if

                                                                  21   required). Additionally, litigation regarding the CMS Claims would be complex and, therefore,

                                                                  22   expensive and time-consuming, including extensive discovery, and would likely involve expert

                                                                  23   witness testimony. The proposed Settlement substantially reduces the amount that would be paid on

                                                                  24   CMS Claim if it were allowed in full, provides that a significant amount of the Settlement will be

                                                                  25   satisfied through offsets of funds that are presently held by CMS in the Medicare Trust Fund, and

                                                                  26   provides that a significant amount of the Settlement Amount will be paid over seven years with a

                                                                  27   reasonable rate of interest.

                                                                  28

                                                                                                                           8
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                Desc
                                                                                                     Main Document    Page 9 of 29


                                                                   1

                                                                   2           2.       Difficulties With Collection
                                                                   3           The Debtor does not believe that collection of a judgment is an issue because the primary

                                                                   4   issues involve litigation of the CMS Claim against the Debtor. However, collection of the

                                                                   5   approximately $4.6 million currently owed to the Debtor by CMS but held in the Medicare Trust

                                                                   6   Fund might be quite difficult. The IRS and CMS would certainly assert a right for CMS to setoff

                                                                   7   those funds against the still unresolved claims of the IRS. Courts have frequently held that the

                                                                   8   United States is one party for mutuality purposes under section 553 of the Bankruptcy Code, and that

                                                                   9   federal agencies can therefore setoff claims held by different agencies. See, e.g., In re HAL, Inc.,

                                                                  10   122 F.3d 851 (9th Cir. 1997), aff’g, 196 B.R. 159 (B.A.P. 9th Cir. 1996) (“[F]ederal government

                                                                  11   agencies, with the exception of those acting in a distinctly private capacity, are a single entity for
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   purposes of setoff under § 553.”); In re Chateaugay Corp., 94 F.3d 772, 779 (2d Cir. 1996) (holding
                                        LOS ANGELES, CALIFORNIA




                                                                  13   that there is a common law right to offset tax refunds against claims of other federal agencies); In re
                                           ATTORNEYS AT LAW




                                                                  14   Turner, 84 F.3d 1294 (10th Cir. 1996) (en banc), vacating panel decision at 59 F.3d 1041 (10th Cir.

                                                                  15   1995) (“We are convinced that the presence or absence of a bankruptcy proceeding does not affect

                                                                  16   the United States’ status as a unitary creditor.”). Even if the Debtor were to prevail on the CMS

                                                                  17   Claim Objection, it would still have to address the likely CMS effort to set off the amounts owed by

                                                                  18   it to the Debtor against the IRS Claim, and on this issue a judgment against CMS would definitely be

                                                                  19   appealed, thereby delaying the conclusion of this case.

                                                                  20           3.       Complexity of the Litigation
                                                                  21           The issues surrounding the bases of the CMS Claims involve, among other things, the

                                                                  22   determination of many complicated Medicare Act issues, including jurisdiction and regulatory

                                                                  23   issues. The analysis and resolution of these complex issues will require extensive discovery and

                                                                  24   would likely require the involvement of regulatory counsel specifically knowledgeable in these

                                                                  25   specialized areas of law. As such, the Settlement will avoid the further disruption, expense, risk,

                                                                  26   delay and uncertainty associated with litigating such complex issues.

                                                                  27           4.       Interests of Creditors
                                                                  28           As set forth above, further litigation with CMS could be costly to the Debtor with no

                                                                                                                           9
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                Desc
                                                                                                     Main Document    Page 10 of 29


                                                                   1   certainty of a successful result. In contrast, the Settlement resolves the disputes between the Debtor

                                                                   2   and CMS at a significant discount from CMS’s substantial claim against the Debtor.

                                                                   3           Moreover, in addition to the Settlement with the CMS, the Debtor has also entered into

                                                                   4   settlements with the IRS and the FTB (collectively referred to as the “Governmental Agencies”) who

                                                                   5   hold claims of more than $20 million against the Debtor, including significant alleged priority

                                                                   6   claims. The Governmental Agencies insist that no settlement with them will be possible, unless and

                                                                   7   until there is also a settlement with CMS. Thus, concluding the Debtor’s bankruptcy case, which has

                                                                   8   now lasted for almost three years, requires that the Settlement be approved.

                                                                   9           Additionally, cash payment of the amount owed at confirmation of the Settlement Amount to

                                                                  10   the CMS is being funded by Mr. Gerald Del Signore, the principal of the Debtor, as part of the “new

                                                                  11   value” contribution toward confirmation of the First Amended Plan. The balance of the Settlement
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   is achieved through offset of approximately $4.6 million that are presently held by CMS in the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Medicare Trust Fund accounts. If the Settlement is not approved, Mr. Del Signore may well
                                           ATTORNEYS AT LAW




                                                                  14   withdraw his new value contribution and there will be nothing left to pay the obligations of the

                                                                  15   Debtor required at confirmation. As such, when considered in light of the risk associated with

                                                                  16   litigation, and the certain delay and expense of litigation, the Debtor believes the Settlement is in the

                                                                  17   best interests of the estate. Moreover, once the Settlement is approved, the Debtor can proceed with

                                                                  18   confirmation and to resolve the Case.

                                                                  19           Based upon the foregoing, the Debtor submits that the Settlement satisfies the four-part test

                                                                  20   for approval of the Settlement, and is in the best interest of its creditors and should be approved by

                                                                  21   this Court.

                                                                  22   B.      Adequate Notice of the Motion Has Been Given
                                                                  23           Debtor has given notice of the Settlement to all creditors of the estate entitled to notice by

                                                                  24   Bankruptcy Rule 2002(a)(3) and to all parties requesting electronic notice. Creditors have been

                                                                  25   informed that (a) pursuant to Local Bankruptcy Rule 9013-1(o) any objection or response to the

                                                                  26   Motion be filed with the Bankruptcy Court and served upon undersigned counsel for the Debtor at

                                                                  27   least fourteen (14) days prior to the hearing date, provided, however, that counsel for CMS has until

                                                                  28   two days prior to the hearing on this Motion to file and serve any objection or response to the

                                                                                                                          10
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49              Desc
                                                                                                     Main Document    Page 11 of 29


                                                                   1   Motion, and (b) pursuant to Local Bankruptcy Rule 9013-1(h), the failure to timely file and serve

                                                                   2   written opposition may be deemed by the Bankruptcy Court to be consent to the granting of the

                                                                   3   relief requested in the Motion and the relief sought in this Motion may be granted without further

                                                                   4   notice.

                                                                   5             Pursuant to agreements between counsel for CMS and counsel for the Debtor, the hearing on

                                                                   6   this Motion will be continued if (a) the Parties cannot agree on the final text of the Settlement

                                                                   7   Agreement by two days before the hearing on this Motion, or (b) final approval of the Settlement

                                                                   8   Agreement, by the necessary officials on behalf of CMS and DOJ, are not obtained by two days

                                                                   9   before the hearing on this Motion.

                                                                  10                                                      VI.

                                                                  11                                              CONCLUSION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12             WHEREFORE, the Debtor respectfully requests entry of an order (i) granting the Motion;
                                        LOS ANGELES, CALIFORNIA




                                                                  13   (ii) approving the Settlement with CMS, (iii) authorizing the Debtor to enter into and take any and
                                           ATTORNEYS AT LAW




                                                                  14   all actions reasonably necessary to effectuate the Settlement, (iv) providing that the CMS Claims be

                                                                  15   satisfied as set forth in the Settlement Agreement, and (v) granting such other and further relief as

                                                                  16   the Bankruptcy Court deems just and proper.

                                                                  17

                                                                  18
                                                                       Dated:     February 11, 2015                  PACHULSKI STANG ZIEHL & JONES LLP
                                                                  19

                                                                  20                                                 By         /s/ Samuel R. Maizel
                                                                                                                                Samuel R. Maizel
                                                                  21                                                            Attorneys for Gordian Medical, Inc., dba
                                                                                                                                American Medical Technologies, Debtor and
                                                                  22                                                            Debtor in Possession

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                          11
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49               Desc
                                                                                                     Main Document    Page 12 of 29


                                                                   1                                DECLARATION OF GERALD DEL SIGNORE

                                                                   2           I, Gerald Del Signore, declare as follows:

                                                                   3           1.       I am the President and sole member of the Board of Directors of Gordian Medical,

                                                                   4   Inc., dba American Medical Technologies, the above-captioned debtor and debtor in possession

                                                                   5   (the “Debtor”). I am primarily responsible for the management of the Debtor, and in this capacity,

                                                                   6   I am generally familiar with the day-to-day operations, business and financial affairs of the Debtor.

                                                                   7           2.       Except as otherwise stated, all facts contained within this Declaration are based

                                                                   8   upon personal knowledge (albeit my own or that gathered from others within the Debtor’s

                                                                   9   organization), my review of relevant documents, or my opinion based upon my experience

                                                                  10   concerning the operations of the Debtor. If called upon to testify, I would testify to the facts set

                                                                  11   forth in this Declaration.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           3.       This Declaration is in support of the Motion Of Debtor For Order Approving
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Settlement Between the Debtor and the United States of America, Acting Through the United
                                           ATTORNEYS AT LAW




                                                                  14   States Department of Health and Human Services and the Centers for Medicare and Medicaid

                                                                  15   Services (the “Motion”). Capitalized terms not otherwise defined in this Declaration have the

                                                                  16   meaning given them in the Motion.

                                                                  17           4.       The Debtor has negotiated, generally, a settlement with the FTB and IRS, but the

                                                                  18   Settlement remains subject to DOJ and CMS final approval. The delay in reaching a settlement of

                                                                  19   the IRS claim caused additional CMS-related issues to arise which needed to be resolved before

                                                                  20   the DOJ and CMS can further consider final approval of the Settlement. The Debtor believes all

                                                                  21   but one issue is resolved. The Debtor, DOJ and CMS continue to negotiate in good faith and hope

                                                                  22   to resolve the remaining issue soon so that the DOJ may finally approve the Settlement before the

                                                                  23   scheduled confirmation hearing.

                                                                  24           5.       After almost two years of negotiations, the Debtor and CMS ultimately reached

                                                                  25   agreement on most issues as reflected in Exhibit 1 attached to the Motion and summarized in the

                                                                  26   Motion. The final terms of the Settlement Agreement are still to be resolved and it will be filed

                                                                  27   with the Court no later than two days prior to the hearing on this Motion. The remaining issues

                                                                  28   are primarily related to the treatment of postpetition CMS claims vis-à-vis the impact of

                                                                                                                            12
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW                   Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49            Desc
                                                                                                           Main Document    Page 13 of 29


                                                                   1   confirmation and the discharge on those claims. The Debtor is working towards resolving those

                                                                   2   issues shortly with CMS and DOJ. The salient terms of the Settlement are as follows:

                                                                   3                                (a)      the CMS Claims shall be allowed in the amount of $35 million;
                                                                   4                                (b)      the Debtor pays $5 million at confirmation;
                                                                   5                         (c)    CMS shall be allowed to recoup approximately $4.6 million it currently
                                                                       holds in the Medicare Trust Fund accounts;
                                                                   6
                                                                                              (d) the balance of the Settlement Amount in the amount of approximately
                                                                   7   $25.4 million shall be recouped by CMS in equal monthly installments of approximately $305,066
                                                                       over eighty-four months; and
                                                                   8
                                                                                              (e)   the Debtor has agreed to stop billing for certain products, and has
                                                                   9   agreed to resolve certain pending appeals within the Medicare appeals process.
                                                                  10
                                                                               6.       I, on behalf of the Debtor, and in consultation with counsel for the Debtor, have
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       evaluated the probability of success, the merits of any litigation that might result if the disputes
                                                                  12
                                                                       with CMS are not settled, and the risks and costs inherent with litigation against CMS. I have
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       concluded that success in any such litigation certainly is not assured and there is a substantial risk
                                                                  14
                                                                       that CMS would be allowed substantial claims in the Case. I am informed by counsel and believe
                                                                  15
                                                                       that CMS would be expected to raise issues such as whether the Debtor is required to exhaust
                                                                  16
                                                                       Medicare’s administrative remedies (which will add years to the litigation if required).
                                                                  17
                                                                       Additionally, I believe that litigation regarding the CMS Claims would be complex and, therefore,
                                                                  18
                                                                       expensive and time-consuming, including extensive discovery, and would likely involve expert
                                                                  19
                                                                       witness testimony. The proposed Settlement substantially reduces the amount that would be paid
                                                                  20
                                                                       on CMS Claim if it were allowed in full, provides that a significant amount of the Settlement will
                                                                  21
                                                                       be satisfied through offsets of funds that are presently frozen by CMS, and provides that a
                                                                  22
                                                                       significant amount of the Settlement Amount will be paid over seven years with a reasonable rate
                                                                  23
                                                                       of interest.
                                                                  24
                                                                               7.       I, on behalf of the Debtor, do not believe that collection of a judgment is an issue
                                                                  25
                                                                       because the primary issues involve litigation of the CMS Claim against the Debtor. However,
                                                                  26
                                                                       collection of the approximately $4.6 million currently owed to the Debtor by CMS but held in
                                                                  27
                                                                       suspense might be quite difficult. I am informed and believe that the IRS and CMS would assert a
                                                                  28

                                                                                                                                 13
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49              Desc
                                                                                                     Main Document    Page 14 of 29


                                                                   1   right for CMS to set off those funds against the still unresolved claims of the IRS.

                                                                   2           8.       Even if the Debtor were to prevail on the CMS Claim Objection, it would still have

                                                                   3   to address the likely CMS effort to set off the amounts owed by it to the Debtor against the IRS

                                                                   4   Claim, and on this issue a judgment against CMS would definitely be appealed, thereby delaying

                                                                   5   the conclusion of the Case.

                                                                   6           9.       The issues surrounding the bases of the CMS Claims involve, among other things,

                                                                   7   the determination of many complicated Medicare Act issues, including jurisdiction and regulatory

                                                                   8   issues. The analysis and resolution of these complex issues will require extensive discovery and

                                                                   9   would likely require the involvement of regulatory counsel specifically knowledgeable in these

                                                                  10   specialized areas of law. As such, the Settlement will avoid the further disruption, expense, risk,

                                                                  11   delay and uncertainty associated with litigating such complex issues.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           10.      As set forth above, further litigation with CMS could be costly to the Debtor with
                                        LOS ANGELES, CALIFORNIA




                                                                  13   no certainty of a successful result. In contrast, the Settlement resolves the disputes between the
                                           ATTORNEYS AT LAW




                                                                  14   Debtor and CMS at a significant discount from CMS’s substantial claim against the Debtor.

                                                                  15           11.      Moreover, in addition to the Settlement with the CMS, the Debtor has also entered

                                                                  16   into settlements with the IRS and the FTB (collectively referred to as the “Governmental

                                                                  17   Agencies”) who hold claims of more than $20 million against the Debtor, including significant

                                                                  18   alleged priority claims. The Governmental Agencies insist that no settlement with them will be

                                                                  19   possible, unless and until there is also a settlement with CMS. Thus, concluding the Debtor’s

                                                                  20   bankruptcy case, which has now lasted for over three years, requires that the Settlement be

                                                                  21   approved.

                                                                  22           12.      Additionally, cash payment of the amount owed at confirmation of the Settlement

                                                                  23   Amount to the CMS is being funded by me, the principal of the Debtor, as part of my “new value”

                                                                  24   contribution toward confirmation of the First Amended Plan. The balance of the Settlement is

                                                                  25   achieved through offsets of approximately $4.6 million that are presently held by CMS in the

                                                                  26   Medicare Trust Fund account. If the Settlement is not approved, I may well have to reconsider

                                                                  27   whether I should make a new value contribution; if I do not, the Debtor will not have sufficient

                                                                  28   funds to pay the Debtor’s obligations owed at confirmation. As such, when considered in light of

                                                                                                                          14
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49               Desc
                                                                                                     Main Document    Page 15 of 29


                                                                   1   the risk associated with litigation, and the certain delay and expense of litigation, the Debtor

                                                                   2   believes the Settlement is in the best interests of the Debtor and its Estate. Moreover, once the

                                                                   3   Settlement is approved, the Debtor can proceed with confirmation and to resolve the Case.

                                                                   4           13.      Based upon the foregoing, I, on behalf of the Debtor, submit that the Settlement is

                                                                   5   in the best interest of the Debtor and its Estate and should be approved by this Court.

                                                                   6           Executed this 11th day of February, 2015, in Irvine, California.

                                                                   7

                                                                   8
                                                                                                                               ___________________________
                                                                   9                                                           Gerald Del Signore
                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                          15
                                                                       DOCS_LA:280210.3 03717/002
                                                                  Case 8:12-bk-12339-MW   Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49   Desc
                                                                                           Main Document    Page 16 of 29


                                                                   1

                                                                   2

                                                                   3

                                                                   4

                                                                   5

                                                                   6

                                                                   7

                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15

                                                                  16

                                                                  17

                                                                  18

                                                                  19

                                                                  20

                                                                  21

                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27                              EXHIBIT 1
                                                                  28                            CMS – Gordian Settlement Terms
                                                                                                   [Dated January 12, 2015]
                                                                    Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49             Desc
                                                                                                       Main Document    Page 17 of 29


                                                                     1   SAMUEL R. MAIZEL (CA BAR NO. 189301)
                                                                         PACHULSKI STANG ZIEHL & JONES LLP
                                                                     2   10100 Santa Monica Blvd., 13th Floor
                                                                         Los Angeles, CA 90067
                                                                     3   Telephone: 310/277-6910
                                                                         Facsimile: 310/201-0760
                                                                     4   E-mail: smaizel@pszjlaw.com

                                                                     5   Attorneys for Gordian Medical, Inc., dba American
                                                                         Medical Technologies
                                                                     6

                                                                     7

                                                                     8                                 UNITED STATES BANKRUPTCY COURT
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                     9                                        SANTA ANA DIVISION
                                                                    10

                                                                    11   In re:                                                 Case No.: 08:12-bk-12339-MW
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   GORDIAN, MEDICAL, INC., d/b/a                          Chapter 11
                                                                         AMERICAN MEDICAL TECHNOLOGIES
                                                                    13                                                          STIPULATION OF SETTLEMENT
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                                                         Debtor.                BETWEEN THE DEBTOR AND THE U.S.
                                                                    14                                                          DEPARTMENT OF HEALTH AND
                                                                                                                                HUMAN SERVICES AND ITS CENTERS
                                                                    15                                                          FOR MEDICARE AND MEDICAID
                                                                                                                                SERVICES
                                                                    16
                                                                                                                                Hearing:
                                                                    17                                                          Date:    March 4, 2015
                                                                                                                                Time:    2:00 p.m.
                                                                    18                                                          Place:   Courtroom 6C
                                                                                                                                         411 West Fourth Street
                                                                    19                                                                   Santa Ana, CA 92701-4593
                                                                                                                                Judge:   Hon. Mark S. Wallace
                                                                    20

                                                                    21            Gordian Medical, Inc., the debtor and debtor in possession (the “Debtor”), and the United
                                                                    22   States on Behalf of the U.S. Department of Health & Human Services (“HHS”), and its designated
                                                                    23   component, the Centers for Medicare and Medicaid Services (“CMS”) (“HHS” and “CMS”
                                                                    24   collectively referred to as “CMS”) (the “Debtor” together with “CMS shall be collectively referred
                                                                    25   to as the “Parties”) by and through their respective counsel, hereby stipulate and agree (the
                                                                    26   “Settlement Agreement”) as follows in accordance with the following recitals:
                                                                    27

                                                                    28

                                                                                                                            1
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW                Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49               Desc
                                                                                                          Main Document    Page 18 of 29


                                                                     1                                                          RECITALS

                                                                     2              A.       On February 24, 2012, (the “Petition Date”), the Debtor filed a voluntary petition for

                                                                     3   relief under chapter 11 of title 11 of the United States Code with the United States Bankruptcy Court

                                                                     4   for the Central District of California, Santa Ana Division (the “Court”).

                                                                     5              B.       On September 7, 2012, CMS filed claim numbers 51-1, 51-2 and 52-1 (the “CMS

                                                                     6   Claims”), asserting a prepetition right to payment of no less than $76 million. The Debtor objected

                                                                     7   to the CMS Claim in its Motion for Order Disallowing Claim Nos. 51-1, 51-2 and 52-1 Filed by the

                                                                     8   United States on Behalf of the U.S. Department Of Health & Human Services (the “CMS Claim

                                                                     9   Objection”) [Docket No. 742]. The hearing on the CMS Claim Objection has been continued

                                                                    10   numerous times pending negotiation and resolution of the CMS Claims and the CMS Claim

                                                                    11   Objection. Pursuant to a stipulation between the Parties [Docket No. 1321], and subsequent orders
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   of the Court, the hearing on the CMS Claim Objection is now scheduled for March 4, 2015.

                                                                    13              C.       The Debtor filed its Plan of Reorganization [Dated August 23, 2013] (the “Original
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   Plan”) [Docket No. 685] on August 23, 2013. The hearing on confirmation of the Original Plan was

                                                                    15   continued numerous times [Docket No. 893] in order to facilitate a resolution of the disputes

                                                                    16   between the Debtor and the various government entities described above. On January 13, 2015, the

                                                                    17   Debtor filed its Debtor’s First Amended Plan of Reorganization [Dated January 13, 2015] (the

                                                                    18   “Plan”) [Docket No. 1395]. The Plan provides for the payment of all Allowed Claims2 in full on the

                                                                    19   later of the Effective Date and the date upon which a Claim becomes an Allowed Claim. The Debtor

                                                                    20   intends to fund payments required under the Plan, including payments to be made to CMS pursuant

                                                                    21   to the Settlement Agreement, from the Debtor’s Cash on hand as of the Effective Date and a

                                                                    22   contribution to be made by Gerald Del Signore, the President of the Debtor.

                                                                    23                                                       STIPULATION

                                                                    24              The undersigned Parties hereby stipulate and agree as follows:

                                                                    25              1.       The Debtor shall assume its supplier agreement with CMS pursuant to 11 U.S.C.

                                                                    26   §365 and as a cure shall pay CMS $35 million in principal, plus interest accruing at the post-

                                                                    27   judgment interest rate set by 28 U.S.C. § 1961, as adjusted annually on each anniversary of Court

                                                                    28
                                                                         2
                                                                             Capitalized terms not defined herein shall have the meaning ascribed to them in the Plan.
                                                                                                                                       2
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49               Desc
                                                                                                       Main Document    Page 19 of 29


                                                                     1   approval of this settlement (the “Settlement Amount”), plus comply with all other provisions of this

                                                                     2   Settlement Agreement.

                                                                     3           2.       At confirmation of the Plan or any subsequently filed plan of reorganization, the

                                                                     4   Debtor shall pay $5 million to CMS (the “Initial Payment”), of which $1 million shall be applied to

                                                                     5   repay the advance CMS made to the Debtor pursuant to the Order Approving Stipulation Between

                                                                     6   Debtor And The United States Of America Extending The Terms Of The Standstill Agreement Dated

                                                                     7   March 29, 2012 [Docket No. 696] (the “Stand-Still Agreement”). The Initial Payment shall (a) be

                                                                     8   made to CMS by electronic funds transmission pursuant to wire instructions provided by the U.S.

                                                                     9   Department of Justice (“DOJ”), and (b) be credited as a payment against the Settlement Amount.

                                                                    10   The Parties agree that this provision does not modify, impair or otherwise limit CMS’s right under

                                                                    11   the Stand-Still Agreement to recoup the $1 million advance until it is paid in full, in the event this
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   Settlement Agreement is not approved by the Court or the Initial Payment is not made by the Debtor.

                                                                    13           3.       CMS shall recoup the $4,606,761 which CMS has administratively frozen and is
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   currently holding in the Medicare Trust Fund account. This recoupment shall be credited as a

                                                                    15   payment against the Settlement Amount.

                                                                    16           4.       After the payments made pursuant to paragraphs 2 and 3 above, the remaining unpaid

                                                                    17   amount of the Settlement Amount of approximately $25.4 million shall be paid through recoupment

                                                                    18   by CMS in monthly recoupments of approximately $305,066 (the “Monthly Recoupment”) from

                                                                    19   payments to the Debtor in the ordinary course of business via recoupment or offset according to

                                                                    20   applicable CMS regulations, policies and procedures over the eighty-four months following

                                                                    21   confirmation of the Plan.

                                                                    22           5.       Amounts recouped or otherwise applied to the Settlement Amount by CMS pursuant

                                                                    23   to paragraph 14(b)(3) shall be credited against the total Settlement Amount owed, but shall not result

                                                                    24   in a re-calculation of the amount of the Monthly Recoupment, which may, therefore, result in the

                                                                    25   total Settlement Amount being paid in full in less than 84 months.

                                                                    26           6.       The Debtor may elect to pay off the Settlement Amount in full at any time without

                                                                    27   any pre-payment penalty or other additional obligation.

                                                                    28           7.       In the event there are insufficient funds being paid from CMS to the Debtor in any

                                                                                                                             3
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                  Desc
                                                                                                       Main Document    Page 20 of 29


                                                                     1   particular month to allow for recoupment of the Monthly Recoupment in full, the Debtor shall make

                                                                     2   up the difference through an electronic funds transfer to the DOJ (on behalf of CMS) to be paid no

                                                                     3   later than the 15th day of the following month. In the event that on December 31st of any given year

                                                                     4   the amount paid through electronic funds transfer or recoupment is not equal to twelve (12) times the

                                                                     5   Monthly Recoupment, the Debtor shall make up the difference through an electronic funds transfer

                                                                     6   to the DOJ (on behalf of CMS) on the 15th of January the following year. If annual adjustment of

                                                                     7   the Settlement Amount due to changes in the post-judgment interest rate causes the Settlement

                                                                     8   Amount to remain partially unpaid at the conclusion of the original 84 months, CMS may recover

                                                                     9   the remainder of the Settlement Amount via recoupment or offset of no more than $150,000 per

                                                                    10   month thereafter until the entire Settlement Amount is fully satisfied.

                                                                    11           8.       In the event that the Debtor, or a substantial portion thereof, is sold at any time after
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   the effective date of this Settlement Agreement, within thirty (30) days of such sale, the Debtor shall

                                                                    13   pay the outstanding balance of the Settlement Amount to CMS, by electronic funds transmission
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   pursuant to instructions to be provided by the DOJ, unless (a) the buyer agrees to assume and

                                                                    15   discharge the terms of this Settlement Agreement and (b) CMS and the DOJ consent, which consent

                                                                    16   shall not unreasonably be withheld, pursuant to applicable rules and regulations, to allow the buyer

                                                                    17   to assume and discharge the Debtor’s obligations under this Settlement Agreement.

                                                                    18           9.       If the Debtor defaults under the terms of this Settlement Agreement, and such default

                                                                    19   is not timely cured within fifteen (15) business days after written notification to the Debtor of the

                                                                    20   alleged default, the provisions of paragraph 18 below shall apply.

                                                                    21           10.      The Settlement Amount shall be secured by a first priority security interest in all of

                                                                    22   the Debtor’s assets and shall be evidenced by a promissory note, security agreement and UCC

                                                                    23   financing statements.

                                                                    24           11.      The Debtor generally agrees to abide by the Medicare laws, regulations and program

                                                                    25   instructions that apply to its claim submissions.

                                                                    26           12.      The Debtor further specifically agrees that it will not submit claims for dressings in

                                                                    27   conjunction with gastrostomy sites for payment (which includes claims with service dates with

                                                                    28   postpetition dates of service).

                                                                                                                               4
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW               Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                  Desc
                                                                                                         Main Document    Page 21 of 29


                                                                     1           13.      The Debtor also specifically agrees not to misuse the “A” modifiers on its claims.

                                                                     2   CMS’s surgical dressing’s policy mandates the use of Modifiers A1-A9 to indicate that a particular

                                                                     3   item is being used as a primary or secondary dressing on a surgical or debrided wound and to

                                                                     4   indicate the number of wounds on which the dressings are being used.

                                                                     5           14.      Appeals.

                                                                     6                    (a)         Prepetition Dates of Service. The Debtor agrees to withdraw all claims

                                                                     7   currently on appeal with prepetition dates of service (the “Prepetition Appeals”).

                                                                     8                    (b)         Postpetition Dates of Service.

                                                                     9                                (1)    Debtor agrees to withdraw all claims currently on administrative

                                                                    10   appeal that relate to claims for dressings in conjunction with gastrostomy sites. For the remaining

                                                                    11   claims with postpetition dates of service currently on appeal at the Administrative Law Judge
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   (“ALJ”) level the parties’ will agree to request consolidation of appeals and to use statistical

                                                                    13   sampling where a case-by-case review is not administratively feasible or practical in accordance
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   with the applicable CMS regulations, policies and procedures.

                                                                    15                                (2)    CMS will not oppose any efforts by the Debtor to have any hearings

                                                                    16   on postpetition claims be held at the Irvine office of the Office of Medicare Hearings and Appeals.

                                                                    17                                (3)    If this proceeding determines that the Debtor’s previously denied

                                                                    18   claims are entitled to be paid in full or in part, CMS will offset, by recoupment or other withholding,

                                                                    19   one-half (1/2) of any payments to be made pursuant to the decision against any portion of the

                                                                    20   Settlement Amount still owed to CMS by the Debtor under this Settlement Agreement.

                                                                    21                                (4)    All other “appeals” (i.e., claims with postpetition dates of service but

                                                                    22   not at the ALJ level on the effective date of the settlement) will be resolved in the ordinary course of

                                                                    23   business.

                                                                    24                                (5)    For so long as the Debtor’s appeals volume remains at levels

                                                                    25   substantially similar to, or higher than, those now experienced, the above appeals process will be

                                                                    26   used from time to time to resolve all of Debtor’s claims’ appeals.

                                                                    27

                                                                    28

                                                                                                                                 5
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW               Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                Desc
                                                                                                         Main Document    Page 22 of 29


                                                                     1                                (6)    CMS agrees to use best efforts to process all appeals in accordance

                                                                     2   with the time limits set forth in the Medicare, Medicaid and SCHIP Benefits Improvement and

                                                                     3   Protection Act of 2000, Public Law 106-554.

                                                                     4           15.      Subject to the exceptions in the following paragraph (concerning excluded claims),

                                                                     5   and conditioned upon (a) the Debtor making the payments as provided for in this Settlement

                                                                     6   Agreement, (b) continued processing of those claims and appeals against CMS described in

                                                                     7   paragraph 14 above, and (c) the Debtor not being in default of any provision in this Settlement

                                                                     8   Agreement, CMS shall release the Debtor from Medicare overpayment liability claims for the time

                                                                     9   period January 1, 2009 through March 31, 2014 (including without limitation any claims that are

                                                                    10   asserted by CMS in the claims filed by the United States on Behalf of the U.S. Department of Health

                                                                    11   & Human Services, and its designated component, CMS, which were assigned Claim Nos. 51-1,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   51-2 and 52-1 on the claims register of the Debtor’s bankruptcy case). All CMS claims arising after

                                                                    13   March 31, 2014 (i) will not be discharged or released by the Debtor’s plan, confirmation order or
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   otherwise; (ii) CMS will not be enjoined from collecting those claims; and (iii) CMS will not be

                                                                    15   required to file an administrative expense claim with the Court to be paid on those claims.

                                                                    16           16.      Notwithstanding the releases, waivers and compromises granted in this Settlement

                                                                    17   Agreement, the following rights and claims of the United States are specifically reserved:

                                                                    18                    (a)         Any right and claim of any federal agency other than CMS;

                                                                    19                    (b)         Any liability under Title 26, U.S. Code (Internal Revenue Code);

                                                                    20                    (c)         Any liability for fraud;

                                                                    21                    (d)         Any liability under the False Claims Act, 31 U.S.C. §§3729-3733; the Civil

                                                                    22   Monetary Penalties law, 42 U.S.C. §§1320(a)-7(a); and the Program Fraud Civil Remedies Act, 31

                                                                    23   U.S.C. §§3801-3812;

                                                                    24                    (e)         Any liability based upon obligations created by this Agreement;

                                                                    25                    (f)         Any express or implied warranty claims or other claims for defective or

                                                                    26   deficient products or services, including quality of goods or services; and

                                                                    27                    (g)         Any rights and claims by the United States against any non-debtor, i.e. any

                                                                    28   person or entity other than the Debtor.

                                                                                                                                 6
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW               Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                  Desc
                                                                                                         Main Document    Page 23 of 29


                                                                     1           17.      If after the Debtor confirms a plan in this bankruptcy case, or this bankruptcy case is

                                                                     2   dismissed or closed, and a third party commences, any case, proceeding, or other action under any

                                                                     3   law relating to bankruptcy, insolvency, reorganization, or relief of debtors (a) seeking to have any

                                                                     4   order for relief of the debtor’s debts, or seeking to adjudicate the Debtor as bankrupt or insolvent; or

                                                                     5   (ii) seeking appointment of a receiver, trustee, custodian, or other similar official for the Debtor or

                                                                     6   for all or any substantial part of the Debtor’s assets, the Debtor agrees as follows:

                                                                     7                    (a)         The Debtor shall immediately seek to dismiss the case with prejudice;

                                                                     8                    (b)         This Settlement Agreement shall be honored;

                                                                     9                    (c)         The Debtor’s obligations under this Settlement Agreement shall not be

                                                                    10   avoided;

                                                                    11                    (d)         If the Debtor’s obligations are avoided for any reason, the United States, at its
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   sole option, may rescind the releases in this Settlement Agreement and bring whatever claims,

                                                                    13   actions or proceedings it chooses against the Debtor, including, without limitation, all claims, actions
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   or proceedings covered by the releases;

                                                                    15                    (e)         The Debtor agrees that any such actions, claims or proceedings are not

                                                                    16   covered by the automatic stay pursuant to 11 U.S.C. §362(a) and that the Debtor will not move to

                                                                    17   enjoin such claims, actions or proceedings on that basis;

                                                                    18                    (f)         The Debtor shall not plead, argue, or otherwise raise any defenses under

                                                                    19   theories of statute of limitations, laches, estoppel, or similar theories, to any such civil or

                                                                    20   administrative claims, actions, or proceedings that are brought by the United States within ninety

                                                                    21   (90) calendar days of written notification to the Debtor that the releases have been rescinded; and

                                                                    22                    (g)         The Debtor agrees that its agreements in this paragraph are provided in

                                                                    23   exchange for valuable consideration provided in this Settlement Agreement.

                                                                    24           18.      In the event that the Debtor fails to pay or permit CMS to recoup or setoff the

                                                                    25   Monthly Recoupment or otherwise defaults under this Settlement Agreement and the Debtor fails to

                                                                    26   cure any such default within fifteen (15) days of written notice to the Debtor, then the remaining

                                                                    27   unpaid balance of the Settlement Amount shall become immediately due and payable, and interest

                                                                    28   shall accrue at post-judgment interest rate set by 28 U.S.C. §1961 per annum compounded daily (the

                                                                                                                                  7
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                Desc
                                                                                                       Main Document    Page 24 of 29


                                                                     1   “Remaining Settlement Amount and Default Interest Balance”) from the date of default until all

                                                                     2   amounts due have been paid in full. The Debtor shall consent to a Consent Judgment in the amount

                                                                     3   of the Remaining Settlement Amount and Default Interest Balance (“Gordian Consent Judgment”)

                                                                     4   and the United States may (a) offset the Gordian Consent Judgment from any amounts due and

                                                                     5   owing to the Debtor by any department, agency, or agent of the United States; (b) collect the entire

                                                                     6   Remaining Settlement Amount and Default Interest Balance, and all other amounts due upon the

                                                                     7   event of default; or (c) exercise any other rights or claims granted by law or in equity. The Debtor

                                                                     8   agrees (i) not to contest any consent judgment, recoupment or setoff imposed by the United States to

                                                                     9   recover amounts owed under this settlement, and (ii) not to contest and hereby waives, releases and

                                                                    10   discharges any defenses to collection of amounts owed under this settlement undertaken by the

                                                                    11   United States or its agents or contractors, either administratively or in any state or federal court,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12   provided however that the United States has not caused the default to occur by failing to adhere to its

                                                                    13   obligations under this Settlement Agreement or under the applicable provisions of the Medicare Act,
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14   in which case the Debtor shall be permitted to assert such defenses in the Court as part of an action

                                                                    15   to enforce the terms of the Settlement Agreement. In the event of a default, the Debtor shall pay the

                                                                    16   United States all reasonable costs of collection and enforcement of this settlement, including,

                                                                    17   without limitation, attorneys’ fees and expenses (“Collection Costs”).

                                                                    18           19.      In the event of default by the Debtor under this Settlement Agreement, and if the

                                                                    19   Debtor fails to cure any alleged default within thirty (30) days of written notification of the alleged

                                                                    20   default, CMS may suspend the Debtor’s Medicare supplier agreement and any and all agreements

                                                                    21   related thereto, or exclude the Debtor from further participation in the Medicare Program, pursuant

                                                                    22   to applicable statutes and regulations, unless and until the Debtor pays the then remaining Settlement

                                                                    23   Amount and Default Interest Balance and Collection Costs to CMS and otherwise timely cures any

                                                                    24   and all existing defaults.

                                                                    25           20.      The Debtor shall not alter, modify or amend in any way any of the terms of this

                                                                    26   Settlement Agreement through a plan of reorganization, confirmation order or otherwise. To the

                                                                    27   extent of any inconsistency with any document related to this case or to the extent of any ambiguity,

                                                                    28   the terms of this Settlement Agreement shall control any and all disputes between the Parties.

                                                                                                                             8
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                 Desc
                                                                                                       Main Document    Page 25 of 29


                                                                     1           21.      Each party hereto agrees that it has fully participated in the drafting of this Settlement

                                                                     2   Agreement. The rule of law which provides that ambiguities will be construed against the drafting

                                                                     3   party in interpreting written instruments shall not be applicable to or used in resolving any dispute

                                                                     4   over the meaning or intent of this Settlement Agreement or any of its provisions.

                                                                     5           22.      This is the full and complete Settlement Agreement of the parties, and each party has

                                                                     6   entered into this Settlement Agreement voluntarily and without duress. This agreement may not be

                                                                     7   amended without the express prior written consent of the parties.

                                                                     8           23.      Any disputes regarding this Settlement Agreement shall be governed by federal law.

                                                                     9           24.      This Settlement Agreement is binding on the Parties’ successors and assigns.

                                                                    10           25.      Each party shall bear its own costs and expenses, including attorneys’ fees, in

                                                                    11   connection with the negotiation, preparation and performance of this Settlement Agreement.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                    12           26.      This agreement may be executed in counterparts, each of which constitutes an

                                                                    13   original and all of which constitute one and the same agreement.
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14           27.      This Settlement Agreement is subject to the approval of CMS, the DOJ and the Court

                                                                    15   and is of no force and effect until approved. The Parties shall however stay any litigation against

                                                                    16   each other while approval is pending, and unless and until this Settlement Agreement has been

                                                                    17   denied approval.

                                                                    18

                                                                    19

                                                                    20

                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28

                                                                                                                              9
                                                                         DOCS_LA:280210.3 03717/002
                                                                    Case 8:12-bk-12339-MW             Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49           Desc
                                                                                                       Main Document    Page 26 of 29


                                                                     1           28.      CMS shall cause the Durable Medical Equipment Medicare Administrative

                                                                     2   Contractor (“DME-MAC”), Zone Program Integrity Contractors (“ZPIC”) and Administrative

                                                                     3   Qualified Independent Contractors (“AdQIC”)’s for all four regions to process the Debtor’s claims

                                                                     4   in accordance with applicable policy and guidelines, including but not limited to the Local Coverage

                                                                     5   Determination, the Medicare Claims Processing Manual (100-4), and the Medicare Program

                                                                     6   Integrity Manual (100-8).

                                                                     7   Dated: February __, 2015                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                     8
                                                                                                                     By:
                                                                     9                                                     Samuel R. Maizel
                                                                    10                                                     Attorneys for Gordian Medical, Inc., dba American
                                                                                                                           Medical Technologies
                                                                    11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                         Dated: February__, 2015                     U.S. DEPARTMENT OF JUSTICE
                                                                    12                                               CIVIL DIVISION
                                                                                                                     COMMERCIAL LITIGATION BRANCH
                                                                    13
                                        ATTORNEYS AT LAW
                                         L O S A N G E L E S , CA




                                                                    14
                                                                                                                     By:
                                                                    15                                                     Stuart F. Delery, Acting Associate Attorney
                                                                                                                           General
                                                                    16                                                     John T. Stemplewicz, Acting Director, Civil
                                                                                                                           Division
                                                                    17                                                     Tracy J. Whitaker, Assistant Director
                                                                                                                           Seth B. Shapiro, Trial Attorney (D.C. Bar
                                                                    18                                                     No. 433988)
                                                                    19                                                     Attorneys for the United States of America, on
                                                                                                                           behalf of the United States Department of Health
                                                                    20                                                     and Human Services and the Centers for Medicare
                                                                                                                           and Medicaid Services
                                                                    21

                                                                    22

                                                                    23

                                                                    24

                                                                    25

                                                                    26

                                                                    27

                                                                    28

                                                                                                                           10
                                                                         DOCS_LA:280210.3 03717/002
        Case 8:12-bk-12339-MW                  Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                                        Desc
                                                Main Document    Page 27 of 29



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION OF DEBTOR
FOR ORDER APPROVING SETTLEMENT BETWEEN THE DEBTOR AND THE UNITED STATES OF AMERICA,
ACTING THROUGH THE UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES AND THE
CENTERS FOR MEDICARE AND MEDICAID SERVICES; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATION OF GERALD DEL SIGNORE IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
February 11, 2015, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On February 11, 2015, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 11, 2015, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

By Overnight Mail
Honorable Mark S. Wallace
United States Bankruptcy Court
Central District of California
411 West Fourth Street, Suite 6135
Santa Ana, CA 92701-4593

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 11, 2015                      Myra Kulick                                           /s/ Myra Kulick
 Date                                   Printed Name                                          Signature


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:251839.3 03717/002
         Case 8:12-bk-12339-MW                   Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                                        Desc
                                                  Main Document    Page 28 of 29


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

     Todd M Bailey todd.bailey@ftb.ca.gov
     Frank Cadigan frank.cadigan@usdoj.gov
     Lisa W Chao lisa.chao@doj.ca.gov
     Robert F Conte robert.conte@usdoj.gov
     Rebecca L Daum kenise_taylor@tax.state.oh.us
     M Douglas Flahaut flahaut.douglas@arentfox.com
     Marshall F Goldberg mgoldberg@glassgoldberg.com
     Michael I Gottfried mgottfried@lgbfirm.com,
      ncereseto@lgbfirm.com;kalandy@lgbfirm.com;marizaga@lgbfirm.com;cboyias@lgbfirm.com;rspahnn@lgbfirm.com
     Michael J Hauser michael.hauser@usdoj.gov
     Michael R Hickman mhickman@cwlawyers.com,
      ymolinar@cwlawyers.com;dvillamar@cwlawyers.com;ecline@cwlawyers.com
     Lance N Jurich ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com
     Lance N Jurich ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com
     Jeffrey L Kandel jkandel@pszjlaw.com
     Teddy M Kapur tkapur@pszjlaw.com
     Joseph W Kots jkots@state.pa.us
     Rodger M Landau rlandau@lgbfirm.com, marizaga@lgbfirm.com;kalandy@lgbfirm.com
     Rodger M Landau rlandau@lgbfirm.com, marizaga@lgbfirm.com;kalandy@lgbfirm.com
     Mary D Lane mal@msk.com, mec@msk.com
     Samuel R Maizel smaizel@pszjlaw.com, smaizel@pszjlaw.com
     Scotta E McFarland smcfarland@pszjlaw.com, smcfarland@pszjlaw.com
     Michael K Murray mkmurray@lanak-hanna.com
     Malhar S Pagay mpagay@pszjlaw.com, mpagay@pszjlaw.com
     Penelope Parmes penelope.parmes@troutmansanders.com
     Misty A Perry Isaacson , ecf@ppilawyers.com
     Daniel H Reiss dhr@lnbyb.com
     Seth B Shapiro seth.shapiro@usdoj.gov
     United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     Jeanne C Wanlass jwanlass@loeb.com, karnote@loeb.com;ladocket@loeb.com
     David J Warner David.J.Warner@irscounsel.treas.gov
     Elizabeth Weller dallas.bankruptcy@publicans.com
     Brian D Wesley brian.wesley@doj.ca.gov
     Rebecca J Winthrop rebecca.winthrop@nortonrosefulbright.com, darla.rodrigo@nortonrosefulbright.com

2. SERVED BY UNITED STATES MAIL:
                                                    Debtor
                                                                                                        Michael D. Watson
                                                    Gerald Del Signore
                                                                                                        Vice President-Governmental Affairs
     AMERICAN MEDICAL TECHNOLOGIES                  Chief Executive Officer
                                                                                                        American Medical Technologies,
    Chapter 11 Case No.: 8:12-bk-12339-MW           American Medical Technologies,
                                                                                                          dba Gordian Medical, Inc.
               2002 Service List                      dba Gordian Medical, Inc.
                                                                                                        17595 Cartwright Road
                                                    17595 Cartwright Road
                                                                                                        Irvine, CA 92614
                                                    Irvine, CA 92614

                                                    David R. Simon, Esq.
Financial Advisor
                                                    Vice President and General Counsel                  Office of the United States Trustee
Kerry Krisher
                                                    American Medical Technologies,                      Michael Hauser, Esq.
GlassRatner Advisory & Capital Group LLC
                                                    dba Gordian Medical, Inc.                           411 West Fourth Street, Suite 9041
19800 MacArthur Boulevard, Suite 820
                                                    17595 Cartwright Road                               Santa Ana, CA 92701-4593
Irvine, CA 92612
                                                    Irvine, CA 92614




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
DOCS_LA:251839.3 03717/002
        Case 8:12-bk-12339-MW                    Doc 1418 Filed 02/11/15 Entered 02/11/15 17:42:49                                        Desc
                                                  Main Document    Page 29 of 29



                                                                                                        Counsel for the IRS
Special Tax Counsel for Debtor                      Counsel to Gerald Del Signore
                                                                                                        David J. Warner
Lance N. Jurich / Christopher W. Campbell           Penelope Parmes
                                                                                                        Assistant U.S. Attorney
Loeb & Loeb LLP                                     Troutman Sanders LLP
                                                                                                        24000 Avila Road, Suite 4404
10100 Santa Monica Boulevard, Suite 2200            5 Park Plaza, Suite 1400
                                                                                                        Mail Stop 8800
Los Angeles, CA 90067                               Irvine, CA 92614-2545
                                                                                                        Laguna Niguel, CA 92677


                                                    Counsel for CMS
Angela M. Belgrove
                                                    Seth B. Shapiro, Trial Attorney                     Regulatory Counsel
Assistant Regional Counsel
                                                    U.S. Department of Justice – Civil Division         Fulbright & Jaworski LLP
Office of the General Counsel
                                                    Commercial Litigation Branch                        Attn: Frederick (Rick) Robinson
US Dept. of HHS
                                                    1100 L Street, NW – 10th Floor                      801 Pennsylvania Avenue, N.W.
90 7th Street, Suite 4-500
                                                    P.O. Box 875 - Ben Franklin Station                 Washington, D.C. 20004-2633
San Francisco, CA 94103-6705
                                                    Washington, D.C. 20044




         Requests for Special Notice




Counsel for DeRoyal Industries, Inc.                Joseph Kots
                                                                                                        Counsel for Creditor Medline Industries, Inc.
Pagter and Perry Isaacson, APLC                     Department of Labor and Industry
                                                                                                        M. Douglas Flahaut
Misty Perry Isaacson                                Reading Bankruptcy and Compliance Unit
                                                                                                        Arent Fox LLP
525 N. Cabrillo Park Drive                          625 Cherry Street, Room 203
                                                                                                        555 West Fifth Street, 48th Floor
Suite 104                                           Reading, PA 19602-1152
                                                                                                        Los Angeles, CA 90013-1065
Santa Ana, CA 92701


Counsel for Creditor Medline Industries, Inc.
                                                    Michael E. Large                                    Rebecca Adelman
Robert M. Hirsch
                                                    Large & Associates                                  Adelman Law Firm, PLLC
Arent Fox LLP
                                                    529 Alabama Street                                  545 South Main Street, Room 111
1675 Broadway
                                                    Bristol, TN 37620                                   Memphis, TN 38103
New York, NY 10019-5820



                                                    Jason M. Crowder                                    Riverside Claims LLC
Jeffrey Schlapp
                                                    Corporate Counsel                                   Neil Herskowitz
Horwitz, Horwitz & Associates, Ltd.
                                                    Petersen Healthcare, Inc.                           PO Box 626
25 East Washington, Suite 900
                                                    830 West Trailcreek Drive                           Planetarium Station
Chicago, IL 60602
                                                    Peoria, IL 61614                                    New York, NY 10024




Pioneer Credit Recovery, Inc.
26 Edward St.
Arcade, NV 14009




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
DOCS_LA:251839.3 03717/002
